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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

Erin Sanders, individually and on behalf of all                   3:21-cv-01155
others similarly situated,
                                  Plaintiff,

                                                             Stipulation of Dismissal
                    - against -
                                                                 With Prejudice

The Hillshire Brands Company,
                                  Defendant
       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Erin

Sanders and Defendant The Hillshire Brands Company, through their undersigned counsel, hereby

stipulate and agree that this proceeding is dismissed, in its entirety, with prejudice, each party

bearing its own fees and costs.

Dated: November 22, 2022

Sheehan & Associates, P.C.                           King & Spalding LLP

/s/ Spencer Sheehan                                  /s/ Keri E. Borders
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Attorneys for Plaintiff                              Attorneys for Defendant
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                                   Certificate of Service

I certify that on November 22, 2022, I served and/or transmitted the foregoing by the method

below to the persons or entities indicated, at their last known address of record (blank

where not applicable).

                                CM/ECF           First-Class      Email            Fax
                                                    Mail
 Defendant’s Counsel                ☒                ☐              ☐              ☐
 Plaintiff’s Counsel                ☒                ☐              ☐              ☐
 Courtesy Copy to Court             ☐                ☐              ☐              ☐



                                                       /s/ Spencer Sheehan
                                                       Spencer Sheehan
